    Case 1:20-cv-25184-MGC Document 1-6 Entered on FLSD Docket 12/21/2020 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                             Southern District
                                                          __________  District of
                                                                               of Florida
                                                                                  __________

                 Brian Jamie Roethlisberger                               )
                                                                          )
                                                                          )
                                                                          )
                            Plaintiff(s)                                  )
                                                                          )
                                 v.                                               Civil Action No. 1:20-cv-25184
                                                                          )
 VIX, Inc. aka VIX Florida, Inc. and Francisco Urbina                     )
                                                                          )
                                                                          )
                                                                          )
                           Defendant(s)                                   )

                                                          SUMMONS IN A CIVIL ACTION
                                       Francisco Urbina
To: (Defendant’s name and address) 2121  Ponce De Leon Boulevard
                                   Suite 800
                                       Coral Gables, FL 33134




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Joel B. Rothman
                                       SRIPLAW
                                       21301Powerline Road, Suite 100
                                       Boca Raton, FL 33433
                                       561.404.4350 - Telephone
                                       joel.rothman@sriplaw.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT


Date:
                                                                                               Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:20-cv-25184

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
